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4

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7

8                         UNITED STATES DISTRICT COURT

9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            No.   2:14-CR-43 GEB
12                Plaintiff,              [Proposed] ORDER
13         v.                             Judge: Hon. Garland E. Burrell
                                          Time: 9:00 a.m.
14   Edwin F. Ludwig, III,                Date: September 1, 2017
15                Defendant.
16

17   To: UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:

18         This is to authorize and direct you to furnish defendant

19   Edwin Forrest Ludwig, III with transportation and subsistence

20   from the Okmulgee, Oklahoma area to Sacramento, California on

21   August 31, 2017 and from Sacramento, California to Oklahoma on

22   September 1, 2017 or as soon thereafter as possible.

23         Mr. Ludwig, III is indigent and financially unable to pay

24   his travel expenses to and from Sacramento, California. This

25   request is authorized pursuant to 18 U.S.C. § 4285.

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1       IT IS SO ORDERED.

2       Dated:    August 28, 2017

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